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           15                              UNITED STATES DISTRICT COURT
           16                            CENTRAL DISTRICT OF CALIFORNIA
           17      Ms. J.P., et al.,                           Case No. 2:18-CV-06081-JAK-SK
           18                    Plaintiffs,                   NOTICE OF MOTION AND JOINT
           19                                                  MOTION FOR PROTECTIVE
                          vs.                                  ORDER
           20      WILLIAM P. BARR, et al.,                    Assigned to: Hon. John A. Kronstadt
           21                                                               and the Hon. Steve Kim
                                 Defendants.
           22                                                  Date: February 13, 2020
                                                               Time: 1:30 p.m.
           23                                                  Place: United States Courthouse
                                                                        350 W. First Street
           24                                                           Courtroom 10B
                                                                        Los Angeles, CA 90012
           25                                                  Action Filed: July 12, 2018
                                                               Discovery Cutoff Date: October 5, 2020
           26                                                  Pretrial Conference: TBA
                                                               Trial Date: April 20, 2021
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           23      *
                    Admitted pro hac vice
           24      **
                        Institution listed for identification purposes only
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             1           PLEASE TAKE NOTICE that on February 13, 2020 at 1:30 p.m., or as soon
             2     thereafter as the matter may be heard, in the above-mentioned court at the United
             3     States Courthouse, 350 West First Street, Los Angeles, CA, 90012, Courtroom 10B,
             4     before the Honorable John A. Kronstadt, Plaintiffs Ms. J.P., Ms. J.O., and Ms. R.M.,
             5     on behalf of themselves and all others similarly situated (“Plaintiffs”) and Defendants
             6     William P. Barr, Kevin K. McAleenan,1 the Department of Homeland Security,
             7     United States Immigration and Customs Enforcement, United States Customs and
             8     Border Protection, Alex M. Azar II, the Department of Health and Human Services,
             9     Jonathan H. Hayes, Office of Refugee Resettlement, David Marin, Lisa Von
           10      Nordheim, Marc Moore, and Lowell Clark (collectively “Defendants”) will and
           11      hereby jointly do respectfully move for entry of a Protective Order. Plaintiffs move
           12      for an order entering their version of a Protective Order, attached as Exhibit B to the
           13      Declaration of Kevin M. Fee in Support of Plaintiffs’ Motion to Compel (“Fee
           14      Decl.”), filed concurrently herewith. Defendants move for an order entering their
           15      version of a Protective Order attached as Exhibit C to the Fee Declaration. Per the
           16      Court’s Order, a redline between the parties’ proposed versions is attached as Exhibit
           17      D to the Fee Declaration.
           18            As explained more fully in the Joint Stipulation and Declaration of Kevin M.
           19      Fee filed concurrently herewith, the parties met and conferred prior to the filing of this
           20      motion pursuant to Local Rule 37 and Federal Rule of Civil Procedure 37 but were
           21      unable to resolve their dispute and thus require the Court’s assistance. See Fee Decl.,
           22      filed concurrently herewith. The parties’ arguments regarding the differences between
           23      the two versions of the Protective Order are also laid out in the Joint Stipulation. This
           24      Motion is based upon this Notice of Motion, the Joint Stipulation of Plaintiffs and
           25      Defendants pursuant to Local Rule 37-2, the declarations of counsel filed herewith, all
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                    Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Acting Secretary of
           27      Homeland Security Chad F. Wolf is substituted for the former Acting Secretary Kevin
                   K. McAleenan.
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             1     pleadings and papers on file in this action, and upon other such evidence and
             2     argument as may be presented to the Court at or before hearing on this Motion.
             3
             4
             5
                   Date: January 31, 2020                        SIDLEY AUSTIN LLP
             6
             7                                                   By: /s/ Amy P. Lally
                                                                     Amy P. Lally
             8                                                       Ellyce R. Cooper
             9                                                       Attorneys for Plaintiffs

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           11
                   Date: January 31, 2020                        UNITED STATE DEPARTMENT OF
           12                                                    JUSTICE, OFFICE OF
                                                                 IMMIGRATION LITIGATION
           13
           14                                                    By: /s/ Nicole N. Murley
                                                                     Nicole N. Murley
           15                                                        Lindsay M. Vick
           16                                                        Attorneys for Defendants

           17
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                                                FILER’S ATTESTATION
           20
                         Pursuant to Local Rule 5-4.3.4(a)(2) of the Central District of California, I attest
           21
                   that I have concurrence in the filing of this document.
           22
           23                                                    By: /s/ Amy P. Lally
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             1                                CERTIFICATE OF SERVICE
             2           I am employed in the County of Los Angeles, State of California. I am over the
             3     age of 18 years and not a party to the within action. My business address is 1999
             4     Avenue of the Stars, 17th Floor, Los Angeles, California 90067.
             5           On January 31, 2020, I served the foregoing document(s) described as
             6     NOTICE OF MOTION AND JOINT MOTION FOR PROTECTIVE ORDER on
             7     all interested parties in this action by the method described below:
             8           I electronically filed the foregoing with the Clerk of District Court using its
             9     CM/ECF system, which electronically provides notice.
           10            I declare under penalty of perjury that the foregoing is true and correct.
           11
           12                                             /s/ Amy P. Lally
                                                          Amy P. Lally
           13                                             Attorney for Plaintiffs
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